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         Exhibit I
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                               Plaintiff,
                -against-                              Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                              NOTICE OF DEMAND FOR
                                                       INSPECTION PURSUANT TO N.Y.
                               Defendants,             CPLR 6404 AND FED. R. CIV.
                                                       PROC. 66
                -and-

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

 Nominal Defendant.


       PLEASE TAKE NOTICE that pursuant to N.Y. CPLR 6404 and Fed. R. Civ. Proc. 66,

Defendants Vincent Wenyong Shi (“Dr. Shi”) and Link Motion Inc. f/k/a NQ Mobile Inc. (the

“Company” and together with Dr. Shi, the “Defendants”), by their undersigned counsel, hereby

demand that Robert W. Seiden (the “Receiver”) produce the documents described herein (the

“Document Requests”) for inspection and copying at the offices of Felicello Law P.C., 366

Madison Avenue, 3rd floor, New York, New York 10017 or such other place as to which the

parties may agree, within 30 days from the date of service, in accordance with applicable law and

the definitions and instructions set forth below. This request may be satisfied by producing

electronic copies of the described documents to the undersigned on or before the date specified for

production; provided, however, that Plaintiff does not waive its right to review the original of any

document. Plaintiff also expressly reserves the right to request the production of additional

documents at a later time.



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                                         DEFINITIONS

       1.      “Dkt.” refers to documents filed in the action Baliga v. Link Motion Inc., Case

No. 1:18-cv-11642 at the referenced ECF docket number.

       2.      “Receivership” means the receivership resulting from the appointment of Robert

W. Seiden as temporary receiver for the Company at Dkt. 26.

       3.      “Receiver” refers to Robert W. Seiden in his capacity as court-appointed

temporary receiver for the Company.

       4.      “Plaintiff” has the meaning defined above.

       5.      Any term defined in one request set forth below shall have the same meaning in

respect of each other request.

       6.      The uniform definitions set forth in Local Rule 26.3 are incorporated herein.

                                        INSTRUCTIONS

       1.      The following requests for production and inspection (the “Requests”) are

continuous in nature, and require the Receiver to supplement or amend its production if the

Receiver subsequently obtains documents related to these Requests, subsequently discovers that

he has documents or information responsive to the Requests not previously provided, or any

subsequent events require supplementation or amendment of his responses.

       2.      Unless otherwise noted, these Requests require you to produce all responsive

documents for the time period beginning December 13, 2018 up to and through the present.

       3.      With respect to the documents produced, the Receiver shall:

               (a)     produce them as they are kept in the usual course of business, complete
               with the original file folders, binders, or other containers in which they are stored
               (or legible copies of the labels from those folders, binders, or containers); or

               (b)     organize and label them to correspond with each numbered paragraph and
               each lettered subparagraph of the Request for Production of Documents in
               response to which such documents are produced in which case each document or


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               set of documents from a particular file, binder, or other container should be
               accompanied by a legible copy of the label from that container or some other
               reliable indicator of the file from which it was taken; and

               (c)     identify the source of each document by department, division, and/or
               person.

       4.      Selection of documents from files and/or other sources and the numbering of such

documents shall be performed in such a manner as to insure that the sources of each document

may be determined, if necessary.

       5.      Produce electronically stored information (“ESI”) as image files with full-text

OCR readable with the integrity of the ESI’s content (i.e., original formatting of the document,

its metadata and, where applicable, its revision history).

       6.      If the Receiver considers any of the Requests or parts thereof to be objectionable,

answer so much of each request and each part thereof as is not objectionable, in the Receiver’s

view, and separately state that part of each Request as to which the Receiver raises objection and

each ground for each such objection.

       7.      Any description of documents requested that is specific in nature should not be

interpreted to diminish the breadth of any more general request that may otherwise encompass

such specified documents.

       8.      If any document requested in the Requests is known to have existed and cannot

now be located, or has been destroyed or discarded, then identify the document and for each such

document set forth: (a) the type of document, author, sender, recipients and addresses of the

original and of any copies thereof; (b) the last known custodian of the document or copies

thereof; (c) the subject matter and content of the document; (d) the date it was created, number of

pages, attachments or appendices; (e) the Request(s) to which such document is or would have

been responsive; (f) whether the document is missing or lost or was destroyed or discarded; (g)



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the date of loss, destruction or discard; (h) the manner of destruction or discard; (i) the reasons

for destruction or discard; (j) the persons authorizing or carrying out such destruction or discard;

and (k) the efforts made to locate lost or misplaced documents.

       9.       All documents that are requested in the requests are to be produced in their

entirety, without abbreviation, expurgation, or deletion.

       10.      For each document or portion of a document that is requested in the requests that

the Receiver withholds or redacts on the basis of privilege: (a) identify the document; (b)

identify the name and address of the creator(s) of the document; (c) identify the date of its

creation; (d) identify the subject matter of the document that is withheld or of the portion of the

document that is redacted, as well as any attachments or appendices, including the number of

pages; (e) identify the person or persons who currently possess the document or any copy

thereof; (f) identify each and every person who ever had access to the document, who was shown

a copy of the document, or to whom any of the information in the document was distributed,

shown, communicated, or explained; (g) specify the privilege or other ground(s) upon which the

document is being withheld or redacted; and (h) specify the Request(s) to which the document

responds.

       11.      Documents responsive to these requests that are attached to each other should not

be separated.

       12.      All documents requested in the Requests, as well as any other documentary or

other evidence relating to the claims asserted in this Action that would otherwise be subject to

destruction, are to be preserved.

                               REQUESTS FOR PRODUCTION

       1.       All engagement letters regarding the retention of professionals in connection with




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the Receivership, including but not limited to engagement letters with Kobre & Kim (“Kobre &

Kim”) (Dkt. 43), KLC Corporate Advisory and Recovery (“KLC”) (Dkt. 43), KSG Attorneys at

Law (“KSG”) (Dkt. 220), and Maples Corporate Services Limited (“Maples”) (Dkt. 220).

       2.      All documents, records, and communications with Kobre & Kim concerning the

Receivership. See Dkt. 43, 220.

       3.      All documents, records, and communications with KLC concerning the

Receivership. See Dkt. 43, 220.

       4.      All documents, records, and communications with KSG concerning the

Receivership. See Dkt. 220.

       5.      All documents, records, and communications with Maples concerning the

Receivership. See Dkt. 220.

       6.      The “statutory demand” to “Tongfang Investment Fund Series, SPC” referred to

in Dkt. 43.

       7.      All communications with the Hong Kong International Arbitration Centre

(“HKIAC”), including all communication referred to in Dkt. 43.

       8.      Copies of all letters issued by the Receiver to third parties, including but not

limited to “formal letters to government offices in China and to commercial partners of Link

Motion, Inc. in the United States notifying them of the Receivership Order in the U.S. and Hong

Kong” as referenced in Dkt. 43.

       9.      All documents and records concerning the “Texas employment related lawsuit

against Link Motion, Inc.” referenced in Dkt. 43.

       10.     All documents and records concerning a “pending legal preceding brought by

Link Motion, Inc. in Brazil” as referenced in Dkt. 43.




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       11.     All communications to and from “former and current directors and officers of

Link Motion, Inc.” as referenced in Dkt. 43.

       12.     All communications to and from Mr. Francis “Lilin” Guo (“Guo”) including but

not limited to communications with Guo referenced in Dkt. 43, 220, 268, 344-347, and 351.

       13.     All documents, records, and communications concerning the “investigat[ion] of

the legal and operational status of Link Motion, Inc. in China and the proper means to preserve

the Chinese assets and entities.” See Dkt. 43.

       14.     All documents, records, and communications concerning the Receiver’s “formal

control of Link Motion, Inc.'s Hong Kong subsidiary.” See Dkt. 43.

       15.     All documents, records, and communications concerning “request[s] by the

Receiver that certain Hong Kong and Cayman Islands banks with funds of Link Motion, Inc.

freeze those accounts and remit funds to be preserved in the Receivership escrow trust account.”

See Dkt. 43.

       16.     All documents, records, and communications concerning “calls, emails, and

letters from Company creditors.” See Dkt. 43.

       17.     All documents, records, and communications concerning “texts, calls, and emails

from current employees of Link Motion, Inc.” and any “sworn statements” by same. See Dkt. 43.

       18.     All documents, records, and communications concerning “calls and emails from

many U.S. shareholders.” See Dkt. 43.

       19.     All documents, records, and communications concerning “issues inside the PRC

and Hong Kong related to the assets which have been wrongfully transferred out of LKM,

including corresponding with banks and courts inside the PRC.” See Dkt. 220.

       20.     All documents, records, and communications concerning “Company assets, as




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well other issues related to LKM’s corporate governance in the Cayman Islands,” “recogni[tion]

in the Cayman Islands,” “pay[ment] [of] required corporate fees,” and “critical corporate

documents.” See Dkt. 220.

        21.    All documents, records, and communications concerning “lawsuits on behalf of

the WFOE and secure LKM assets abroad.” See Dkt. 220.

        22.    All documents, records, and communications concerning “efforts to secure the

bank account of the WFOE in China,” “the Variable Interest Entity (‘VIE’) contracts that

maintain control over LKM’s PRC subsidiaries,” “negotiat[ions] with other significant LKM

shareholders inside the PRC to assist in the process of gaining control of” the VIE contracts, and

any agreements or understandings relating to any of the foregoing. See Dkt. 220.

        23.    All documents, records, and communications concerning “control of the WFOE in

the PRC” and “corporate resolutions to make Mr. Guo the legal representative of the WFOE

inside the PRC.” See Dkt. 220.

        24.    All documents, records, and communications concerning “contracts, legal

documents and emails produced by DLA Piper, Marcum, Skadden Arps, Loeb & Loeb, and all

former professional services providers to the Company,” “transactions entered into by LKM with

various related and unrelated entities,” and the “outside third-party vendor for the purpose of

litigation e-discovery and search technology.” See Dkt. 220.

        25.    All documents, records, and communications concerning “the Arbitration in Hong

Kong.” See Dkt. 220.

        26.    All documents, records, and communications concerning “the Company’s assets,

including sending formal letters and calls to commercial partners in the United States.” See Dkt.

220.




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       27.     All documents, records, and communications concerning “the Special Committee

which was created in 2016 to deal with allegations concerning internal governance matters

within LKM.” See Dkt. 220.

       28.     All documents, records, and communications concerning “documents and

communications produced by previously-engaged third party service providers in the U.S.” See

Dkt. 220.

       29.     All documents, records, and communications concerning “interview[s] [with]

management from the Company’s Finland entity” and “monetize[ation] [of] the Company’s

intellectual property assets controlled there.” See Dkt. 220.

       30.     All documents, records, and communications concerning an “investigation into

China AI.” See Dkt. 220.

       31.     All documents, records, and communications concerning “actions of Defendant

Shi in regards to Company bank accounts in China,” “evidence in the possession of the Receiver

indicat[ing] that these loans were never disclosed to LKM shareholders,” “proper corporate

governance protocols. “[r]ecords within China [] show[ing] that Defendant Shi has moved shares

of LKM subsidiary companies out of the LKM corporate structure and into his own control,” and

any other “evidence in this regard.” See Dkt. 220.

       32.     All documents, records, and communications concerning “an application for State

Compensation in China against the Haidian District People's Court of Beijing Municipality.” See

Dkt. 220.

       33.     All documents, records, and communications concerning the sale of “Showself

Technology Co., Ltd.” to “Tongfang Investment Fund Series SPC,” the claim by the Receiver

that “Tongfang never fully paid LKM for the asset and was apparently prohibited from selling or




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transferring it to a third party,” and “the pledge agreements which transferred Showself

Technology Co., Ltd.” See Dkt. 220.

        34.    All documents, records, and communications concerning the referral by “Mr. Guo

[] the actions of Defendant Shi and Defendant Xu to the Beijing Police who have accepted the

evidence and continue to investigate.” See Dkt. 220.

        35.    All documents, records, and communications concerning the “Extraordinary

General Meeting (‘EGM’)” referred to in Dkt. 268.

        36.    All documents, records, and communications concerning the arbitration before

“China International Economic and Trade Arbitration Commission (‘CIETAC’)” concerning

“NQ World Technology Co., Ltd (‘NQW’).” See Dkt. 268.

        37.    All documents, records, and communications concerning Xu Zhou. See Dkt. 268.

        38.    All documents, records, and communications concerning “arbitration,” and

“assets and with other issues related to corporate governance” referenced in Dkt. 344 and Dkt.

345.

        39.    All documents, records, and communications concerning Guo’s “elect[ion] to

convert a portion of the loan to shares in LKM in accordance with the terms of the loan

agreement.” See Dkt. 346 and Dkt. 347.

        40.    All documents, records, and communications concerning the “trial (conducted

virtually) before the HKIAC, Hong Kong International Arbitration Center. The Receivership is

now fully engaged in preparing extensive briefing and submissions to the HK arbitration panel

before a decision is to be rendered.” See Dkt. 346 and Dkt. 347.

        41.    All documents, records, and communications concerning “efforts to secure the

bank account of the WOFE from China Merchants Bank,” “the Receiver used the passage of




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corporate resolutions,” “appoint[ment] [of] Mr. Lilin Guo to act as Chairman and legal

representative of Link Motion, Inc. inside the PRC,” “control of the VIE (Variable Interest

Entity) contracts that ultimately maintain control over the Link Motion, Inc. PRC subsidiaries,

“legal proceedings inside China. “work with Mr. Jianfeng Li who has provided invaluable

English-Chinese and Chinese-English translation and advisory services inside China,” and the

“engage[ment] [with] Mr. Henry Liu to assist with issues in China and the U.S., especially to

advise and consult on legal issues and matters as they relate to ongoing litigation in China.” See

Dkt. 346 and Dkt. 347.

       42.     All documents, records, and communications concerning all application submitted

to the Grand Court of the Cayman Islands, including but not omitted to all affirmations of the

Receiver and any exhibits thereto.

       43.     All documents, records, and communications concerning all application submitted

to the High Court of the Hong Kong Special Administrative Region.

       44.     All documents, records, and communications concerning the disappearance of

Guo. See Dkt. 309.

       45.     All documents, records and communications concerning any “e-mail[s]” from “an

individual” regarding Guo, the “message that Mr. Guo will be reachable in the near future,” the

“handwritten documents,” and the “power of attorney” referred to in Dkt. 351.

Dated: New York, New York                        FELICELLO LAW P.C.
       October 3, 2022
                                                 By:     /s/ Michael James Maloney
                                                         Michael James Maloney
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                                          and Link Motion Inc.
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